      Case 3:18-cv-00774-JAG-RCY Document 1-1 Filed 11/07/18 Page 1 of 1 PageID#  7
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                                                                  r           V'li




                                        FRANCIS SCHAEFFER COX
                                                                       ■JL'
                                              16179-006
                                              PC Box 33
                                        Terre Haute, IN 47808
us District Court Clerk
401 Courthouse SQ
2nd Floor
Alexandra, VA 22314                                       October 12th, 2018



Dear Clerk.



     Please file this complaint and send me a conformed copy. The
$400.00 filing fee has been paid seperatly by check. The check's
memo is "Cox v. Eberle^ filing fee'.'

                                                           Thank You


                                                                              er Cox
